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 8                                    UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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11    UNITED STATES OF AMERICA,                        No. 2:19-CR-0081 KJM
12                       Plaintiff,
13            v.                                       ORDER
14    NANCY PHILLIPS,
15                       Defendant.
16

17                  Defendant moves to revoke the magistrate judge’s March 24, 2020 detention order

18   in light of the increased health risks the coronavirus (“COVID-19”) poses to incarcerated persons

19   including herself. Defendant is charged with conspiracy to distribute and possess with intent to

20   distribute methamphetamine and heroin in violation of 21 U.S.C. §§ 846, 841(a)(1). The court

21   has determined this matter is suitable for decision without a hearing and submits it on the papers.

22   Having thoroughly considered the motions, briefs and ongoing developments affecting

23   incarcerated defendants, including the defendant here, the court DENIES defendant’s motion.

24   I.      BACKGROUND

25                    On May 9, 2019, the grand jury returned a thirteen-count indictment charging

26   four people, including defendant Nancy Phillips, with, among other things, conspiracy to

27   distribute and possess with intent to distribute methamphetamine and heroin in violation of 21

28   U.S.C. §§ 846, 841(a)(1). Indictment, ECF No. 1. On June 5, 2019, the government recorded a
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 1   lis pendens with the Sacramento County Recorder against defendant’s real property. Lis Pendens,
 2   ECF. No. 23.
 3                  Defendant was arrested on October 6, 2019, ECF No. 39, and on October 7, 2019,
 4   she was arraigned and entered a plea of not guilty. ECF No. 33. At the October 11 detention
 5   hearing, the duty magistrate judge denied defendant’s release. Detention Order, ECF No. 41. On
 6   March 19, 2020, defendant filed a motion for bail review before the duty magistrate judge, a
 7   different judge than the judge who originally denied release. ECF No. 63. Defendant also filed a
 8   supplemental brief with exhibits referencing the COVID-19 public health emergency. ECF No.
 9   64-3. The magistrate judge held a hearing on March 24, 2020. At the hearing, and after
10   consideration of the arguments heard, this magistrate judge denied defendant’s motion, ECF No.
11   66. See Hr’g Tr., ECF No. 71. The magistrate judge held the COVID-19 virus does not establish
12   a legal basis to release defendant based on defendant’s criminal history over the last 15 years.
13   Hr’g Tr., at 7. Moreover, the magistrate judge found the reasons for the original detention
14   determination remain unchanged. Id. at 8. The court reporters have filed transcripts of both the
15   original detention hearing and the hearing on the motion for bail review on the court’s docket.
16   See ECF Nos. 71, 73.
17                  On March 27, 2020, defendant moved to revoke the magistrate judge’s March 24,
18   2020 order. Mot., ECF No. 68. With her motion, defendant’s counsel included exhibits,
19   including a declaration from a friend offering to serve as third party custodian. Cynthia O’ Reilly
20   Decl., Ex. 3, ECF No. 68-3, at 2–3. This same declaration was before the magistrate judge. See
21   Hr’g Tr. at 9:11–22. The government timely opposed. Opp’n, ECF No. 72. The court took the
22   matter under submission for resolution by written order and resolves the motion here.
23   II.      LEGAL STANDARD
24                   A person “ordered detained by a magistrate judge, or by a person other than a
25   judge of a court having original jurisdiction over the offense and other than a Federal appellate
26   court . . . may file, with the court having original jurisdiction over the offense, a motion for
27   revocation or amendment of the order. The motion shall be determined promptly.” 18 U.S.C.
28   § 3145(b). Under this provision, the district court conducts its own de novo review of the
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 1   magistrate judge’s detention order. United States v. Koenig, 912 F.2d 1190, 1191 (9th Cir. 1990).
 2   Under the proper de novo review, the district court “should review the evidence before the
 3   magistrate [judge] and make its own independent determination whether the magistrate’s findings
 4   are correct, with no deference.” Id. at 1193. “[T]he district court, while empowered to do so, is
 5   not required to hold an evidentiary hearing when no evidence is offered that was not before the
 6   magistrate [judge].” Id.
 7                  As the magistrate judge memorialized in the original detention order, Detention
 8   Order at 2, the Bail Reform Act imposes a presumption against pretrial release for defendants
 9   charged with serious narcotics offenses, as defendant is here. See United States v. Moore, 607 F.
10   Supp. 489, 497 (N.D. Cal. 1985). “Subject to rebuttal by the [defendant], it shall be presumed
11   that no condition or combination of conditions will reasonably assure the appearance of the
12   person as required and the safety of the community if the judicial officer finds that there is
13   probable cause to believe that the person committed an offense for which a maximum term of
14   imprisonment of ten years or more is prescribed in the Controlled Substances Act (21 U.S.C.
15   801 et seq.).” 18 U.S.C. § 3142(e)(3)(A). However, “the government may not rest solely on the
16   rebuttable presumption to support its motion to detain a defendant pending trial.” Moore, 607 F.
17   Supp. at 498. The government “retains the burden throughout the proceeding to show by clear
18   and convincing evidence that no condition or combination of conditions would reasonably assure
19   defendant’s appearance at trial or the safety of the community.” Id. at 497. Moreover, “the
20   Government must establish risk of flight by a clear preponderance of the evidence, not by the
21   higher standard of clear and convincing evidence.” United States v. Motamedi, 767 F.2d 1403,
22   1406 (9th Cir. 1985). Also, “[a] finding that a defendant is a danger to any other person or the
23   community must be supported by ‘clear and convincing evidence.’” United States v. Hir, 517
24   F.3d 1081, 1086 (9th Cir. 2008) (citing 18 U.S.C. § 3142(f)(2)(B)). Here, the government argues
25   both flight risk and danger and requests the court affirm the magistrate judge’s denial of
26   defendant’s motion to reconsider her detention. Opp’n at 15.
27                  Finally, 18 U.S.C. § 3142(g) specifies the various factors to be considered by the
28   court in determining whether conditions of release may be imposed that will reasonably assure
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 1   the appearance of the person. The court must take into account available information concerning
 2   the nature and circumstances of the offense charged, the weight of the evidence against the
 3   person, the history and characteristics of the person, including her character, physical and mental
 4   condition, family ties, employment, financial resources, length of residence in the community,
 5   community ties, past conduct, history relating to drug and alcohol abuse, criminal history, record
 6   concerning appearance at court proceedings, and the nature and seriousness of the danger to any
 7   person or the community that would be posed by the person’s release. 18 U.S.C. § 3142(g)
 8   (1984). The weight of the evidence has the least force in the court’s analysis, in recognition of
 9   the presumption of innocence that attaches to defendant at the pretrial stage of a criminal
10   proceeding. Bell v. Wolfish, 441 U.S. 520, 533 (1979); 18 U.S.C. § 3142(j) (“Nothing in this
11   section shall be construed as modifying or limiting the presumption of innocence.”).
12   III.      DISCUSSION
13                   Having determined both the applicable standard of review and the proper burden
14   of proof, the court finds on the current record the government has demonstrated by clear and
15   convincing evidence that no condition or combination of conditions will reasonably assure
16   defendant’s appearance, nor adequately ensure the safety of the community as required. See 18
17   U.S.C. § 3142(g).
18                   Defendant contends the court’s 18 U.S.C. § 3142 detention analysis requires
19   consideration of the impact of the COVID-19 pandemic on jails, inmates, health resources and the
20   public. Mot. at 3. Specifically, defendant argues she should be released because the pandemic
21   provides a “compelling reason” for release under 18 U.S.C. § 3142(i) and, on balance, she is a
22   low-risk, nonviolent detainee, and she and society would be safer if she were confined at home
23   rather than in prison. Id.
24             A.    Traditional 3142 Factors
25                   While the court does not underestimate the seriousness of COVID-19, particularly
26   if recommended public health measures are not implemented, it disagrees that the balance of
27   applicable factors tilts in defendant’s favor here. Probable cause supports finding that defendant
28   conspired to possess with intent to distribute over 500 grams of heroin, facing a mandatory
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 1   sentence of ten years in prison. Indictment at 1; see Opp’n at 2. Thus, the statutory presumption
 2   against release is present in this case. Moreover, defendant does not present any particularized
 3   evidence about a medical condition that renders her particularly vulnerable to COVID-19.
 4   Instead, defendant identifies only a wrist abnormality. See Mem. for Bail Rev. Ex. E (Sample X-
 5   Ray of Disfigured Wrist), ECF No. 64-5, at 46. This evidence, without more, is insufficient to
 6   demonstrate a compelling reason exists for her immediate release.
 7                  On balance, as explained below, most of the factors identified in § 3142(g) point
 8   toward the conclusion defendant should not be released. In particular, the § 3142(g) factors
 9   including the need for adequate deterrence and the need to protect the public from further crimes
10   of the defendant weigh against defendant. Given defendant’s extensive criminal history and
11   supervised release status at the time of the alleged offenses, and her residence being subject to
12   forfeiture in this prosecution, her case is not materially distinguishable from that of United States
13   v. Martin, No. PWG-19-140-13, 2020 WL 1274857 (D. Md., March 17, 2020), cited by defendant
14   in support of her motion for immediate release. There, the court denied the release of a defendant
15   with an extensive criminal history in part because “[w]hen placed on community or court
16   supervision, [defendant] violated his release conditions, and was on court supervision at the time
17   of the conduct currently charged in this case.” Id. at *4. Here, as in Martin, defendant was
18   “subject to a term of court-ordered probation when she committed the serious drug offenses in
19   this case.” Opp’n at 9, 11 (pointing to criminal case filed Dec. 4, 2014 in Napa County Superior
20   Court, in which defendant was sentenced to 1 day jail and 3 years’ probation). Moreover, the
21   government reasonably points out that “asking a Pretrial Services Officer in the current
22   environment to monitor someone of [defendant’s] criminal pedigree amounts to an impossible
23   task.” Id. Thus, the court finds applicable § 3142(g) factors including the need for adequate
24   deterrence and the need to protect the public from further crimes of the defendant do not weigh in
25   favor of defendant.
26          B.       COVID a “Compelling Reason” Under 3142(i)?
27                  Statutory text included in § 3142(i) provides a court may temporarily release a
28   detained defendant not only if “such release is necessary for preparation of the person’s defense,”
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 1   but also “for another compelling reason.” See 18 U.S.C. § 3142(i).1 Defendant relies here on
 2   both, the “compelling reason” provision, pointing to her medical condition and on the preparation
 3   of her defense. Mot. at 9–10. She bears the burden of establishing circumstances warranting
 4   temporary release pending trial under both prongs of § 3142(i). See United States v. Terrone, No.
 5   319CR00058RCJCLB, 2020 WL 1844793, at *4 (D. Nev. Apr. 10, 2020); United States of Am. v.
 6   Ryan, No. 2:19-CR-756-JAK, 2020 WL 1861662, at *2 (C.D. Cal. Apr. 14, 2020) (noting
 7   defendant must show “that h[er] medical condition presents ‘compelling reasons’ for temporary
 8   release” under § 3142(i)).
 9                   As an initial matter, the court notes that while the government is correct Pretrial
10   Services is not making home visits, the court does not weigh that circumstance against defendant
11   in assessing the totality of the record before it.
12                   1.      Medical Conditions Providing “Another Compelling Reason”?
13                   A defendant’s serious medical condition may in fact qualify as a “compelling
14   reason” warranting release. See United States v. Gonzalez, No. 18-CR-1536155, 2020 WL
15   1536155, at *3 (E.D. Wash. Mar. 31, 2020) (approving compassionate release in light of COVID-
16   19 where defendant “is in the most susceptible age category (over 60 years of age) and her COPD
17   and emphysema make her particularly vulnerable”); United States v. Hernandez, No. 18-CR-834,
18   2020 WL 1684062, at *3 (S.D.N.Y. Apr. 2, 2020) (finding “extraordinary and compelling
19   reasons” to reduce the defendant’s sentence due to defendant’s asthma and the “heightened
20   medical risk presented to [the defendant] by the COVID-19 pandemic”). However, “chronic
21   conditions that can be managed in prison are not a sufficient basis for compassionate release,”
22   notwithstanding the seriousness of the COVID-19 pandemic. Riley v. United States, No. C19-
23   1522 JLR, 2020 WL 1819838, at *7 (W.D. Wash. Apr. 10, 2020) (quoting United States v. Ayon-
24   Nunez, No. 1:16-CR-00130-DAD, 2020 WL 704785, at *2–*3 (E.D. Cal. Feb. 12, 2020)).
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              “The judicial officer may, by subsequent order, permit the temporary release of the
26   person, in the custody of a United States marshal or another appropriate person, to the extent that
     the judicial officer determines such release to be necessary for preparation of the person’s defense
27
     or for another compelling reason.” 18 U.S.C. § 3142(i)(4).
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 1                  Here, defendant argues she is particularly susceptible to contracting coronavirus
 2   because she has a wrist abnormality that is likely to require surgery in the near future, she is 59
 3   years old and she has a history of drug abuse. Mot. at 9. Specifically, defendant argues, “[i]f she
 4   remains in jail [she] risks becoming exposed to the virus, exposing others, and unnecessarily risks
 5   taxing the health care services in jail.” Id. In opposition, the government observes defendant
 6   does not claim to be infected with COVID-19 and makes no claim that she has been denied
 7   necessary medical treatment or care for exposure to COVID-19 or for any other medical
 8   condition. Opp’n at 14 (citing United States v. Kidder, 869 F.2d 1328, 1331 (9th Cir. 1989) (to
 9   prevail on Eighth Amendment claim regarding avoiding prison due to medical condition,
10   defendant “must show that no constitutionally acceptable treatment can be provided while he is
11   imprisoned”) (emphasis in original)). While recognizing that COVID-19 can be asymptomatic
12   and that many questions remain unanswered about its transmission, potential recurrence and
13   reliable testing for its presence, the court concludes that defendant has not provided information
14   to support the conclusion her medical condition is a compelling reason warranting her release,
15   even if only temporary for the duration of the COVID-19 pandemic.
16                  2.      Release Necessary to Prepare Defense?
17                  Defense counsel also argues that preparing a defense in this case has become
18   increasingly difficult due to the “stay-home-orders, the limited attorney visitation abilities, the
19   recommendation by the Office of the Federal Defender not to conduct in-person client visits in
20   jail, and the limited work schedules of defense attorneys with pre-school and school-aged
21   children who must now stay at home and care for their little ones,” as is the case for defense
22   counsel here. Mot. at 10. Here as well, while the court is sympathetic to the challenges posed by
23   the current shelter-in-place circumstances, it notes that courts routinely have rejected temporary
24   release under § 3142(i) for preparation of a defense alone. This court itself has recently explained
25   that, “Not every restriction on counsel’s time or opportunity to investigate or to consult with his
26   client or otherwise prepare for trial violates a defendant’s Sixth Amendment right to counsel.”
27   United States v. Yandell, No. 19-CR-00107-KJM, 2019 WL 5587291, at *2 (E.D. Cal. Oct. 30,
28   2019) (quoting Morris v. Slappy, 461 U.S. 1, 11 (1983) (citation omitted)). “The Sixth
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 1   Amendment does not guarantee a meaningful relationship with counsel.” Yandell, supra, at *2
 2   (citing Morris, 461 U.S. at 13–14). Although this court issued the decision in Yandell prior to the
 3   COVID-19 outbreak, the government argues persuasively that the same precedent on which the
 4   court relied then remains relevant to deciding whether to provide the extraordinary remedy
 5   defendant requests here. Opp’n at 13.
 6                  Defense counsel does not argue that his ability to represent defendant is
 7   completely impeded. Moreover, there are no pressing matters pending, and Speedy Trial Act
 8   time is currently excluded through June 22, 2020. Minute Order, ECF No. 76. On the record
 9   before it, the court finds defendant has not met her burden of demonstrating a compelling reason
10   necessitates her release under 18 U.S.C. § 3142(i). Nothing before the court warrants revocation
11   of the magistrate judge’s original detention order.
12   IV.    CONCLUSION
13                  The motion is DENIED. Defendant’s request to advance hearing of her motion to
14   revoke is DENIED as MOOT.
15                  This order resolves ECF No. 68 and ECF No. 74.
16                  IT IS SO ORDERED.
17   DATED: April 30, 2020.
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